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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
 Animal Legal Defense Fund; and
 Lockwood Animal Rescue Center,                   Case No. 0:17-cv-4496 JNE/HB

                                    Plaintiffs,

 vs.
                                                  DEFENDANTS’ MOTION FOR
 Fur-Ever Wild; Wolves, Woods &                   SUMMARY JUDGMENT
 Wildlife; and Teresa Lynn Petter,


                          Defendants.
________________________________________________________________________
         Pursuant to Federal Rule of Civil Procedure 56, District of Minnesota Local Rule

7.1, and the Court’s Pretrial Scheduling Order and amendments, Defendants hereby move

the Court for summary judgment.

         This motion is based on the record, files, and proceedings herein, defendants’

memorandum filed concurrently with this motion, and the supporting declarations

together with all accompanying exhibits and supporting documents.

         A hearing date has been obtained from the District Court Judge’s courtroom

deputy (June 13, 2019). The date for submission of the responsive brief is 21 days from

the date of filing this motion or by April 12, 2019. The reply brief will be due 14 days

after that day, or by April 26, 2019.




[26244-0001/3329845/1]
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 Dated: March 22, 2019                    RINKE NOONAN



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